Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 1 of 18 PageID #: 4




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Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 2 of 18 PageID #: 5
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 3 of 18 PageID #: 6
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 4 of 18 PageID #: 7
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 5 of 18 PageID #: 8
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 6 of 18 PageID #: 9
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 7 of 18 PageID #: 10
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 8 of 18 PageID #: 11
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 9 of 18 PageID #: 12
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 10 of 18 PageID #: 13
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 11 of 18 PageID #: 14
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 12 of 18 PageID #: 15
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 13 of 18 PageID #: 16
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 14 of 18 PageID #: 17
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 15 of 18 PageID #: 18
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 16 of 18 PageID #: 19
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 17 of 18 PageID #: 20
Case 3:24-mj-00100-RWT Document 1-3 Filed 08/28/24 Page 18 of 18 PageID #: 21
